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                      UNITED STATES DISTRICT COURT

                      EASTERN DISTRICT OF MICHIGAN

                            SOUTHERN DIVISION

TIMOTHY KING, et al.,

      Plaintiffs,

v.

GRETCHEN WHITMER, et al.,                Civil Case No. 20-13134

      Defendants.                        Honorable Linda V. Parker

and

CITY OF DETROIT, DEMOCRATIC
NATIONAL COMMITTEE and
MICHIGAN DEMOCRATIC PARTY,
and ROBERT DAVIS,

     Intervenor-Defendants.
__________________________________________________________________

                    EMILY NEWMAN'S NOTICE OF APPEAL

      Notice is hereby given that Emily Newman appeals to the United States

Court of Appeals for the Sixth Circuit from the Judgment entered in this action on

December 2, 2021 (ECF No. 180).
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                                           TIMOTHY E. GALLIGAN PLLC


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                                                 Attorney for Emily Newman
Dated: December 6, 2021


                            Certificate of Service

      The undersigned hereby certifies that on December 6, 2021, a true and
correct copy of the forgoing was filed electronically using the CM/ECF system
which will send notification of such filing to all attorneys of record.

                                          /s/Timothy E. Galligan




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